

People v R.B. (2024 NY Slip Op 02380)





People v R.B.


2024 NY Slip Op 02380


Decided on May 02, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 02, 2024

Before: Webber, J.P., Oing, Rodriguez, Higgitt, Michael, JJ. 


Ind. No. 3432/14 Appeal No. 2186 Case No. 2017-2400 

[*1]The People of the State of New York, Respondent,
vR.B., Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (David Billingsley of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Conor E. Byrnes of counsel), for respondent.



Judgment, Supreme Court, New York County (James M. Burke, J.), rendered April 20, 2016, convicting defendant, upon his plea of guilty, of manslaughter in the first degree and robbery in the first degree, and sentencing him to an aggregate term of 17½ years, unanimously modified, on the law, to the extent of vacating the sentence and remanding for resentencing, including a youthful offender determination, and otherwise affirmed.
As the People concede, defendant is entitled to be resentenced with an express youthful offender determination (see People v Middlebrooks, 25 NY3d 516 [2015]; People v Rudolph, 21 NY3d 497 [2013]). Defendant's remaining arguments are rendered academic by this disposition. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 2, 2024








